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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


UNITES STATES OF AMERICA,                     :       CASE NO. 3:11cr00080
                                              :        (Judge Thomas M. Rose)
               Plaintiff,                     :
                                              :
vs.                                           :
                                              :
CAROL A. WILSON,                              :       DEMAND FOR DISCOVERY
                                              :
               Defendant.                     :

               _________________________________________________

               Now comes the Defendant, CAROL A. WILSON, by and through Counsel, and
pursuant to Fed. R. Crim. P. 16, respectfully requests this Honorable Court to order the Assistant
United States Attorney to inform defense counsel of all discoverable evidence in the possession
of the Prosecuting Attorney and to provide defense counsel with the following information:

              1.      Copies of all written and/or recorded statements made by the Defendant to
any prosecuting attorney or law enforcement officer associated with this case;

               2.      Written summaries of all oral statements made by the Defendant;

              3.      Copies of all plea agreements entered between the State and any
co-defendants, including a transcript of any testimony given by said co-defendants at their plea
hearings;

               4.      A copy of Defendant’s prior criminal and traffic records;

               5.      To advise defense counsel in writing of, and to permit defense counsel to
inspect, copy or photograph, all evidence that the prosecuting attorney intends to use at trial,
and/or evidence that is material to the preparation of Defendant’s defense, including books,
charts, accounts or ledgers, papers, documents, photographs, videotapes, audiotapes, clothing,
tangible objects, buildings, places, reports, the results of all diagnostic examinations taken of the
Defendant, victim and/or any witnesses; the results of all scientific tests, examination or
experiments performed, including but not limited to autopsy reports, polygraphs, fingerprint
analyses, laboratory drug tests, blood/DNA tests, chemical/toxicology tests, and the names,
addresses and phone numbers of the individuals who performed these tests, examinations or
experiments;

              6.     A written list of the names, addresses and telephone numbers of all lay
and expert witnesses that the prosecuting attorney intends to call at trial, including all prior
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felony convictions of these witnesses;

              7.      Copies of all written and/or recorded statements made by any witnesses
and/or co-defendants to any prosecuting attorney or law enforcement officer associated with this
case;

                 8.   Written summaries of all oral statements made by any witnesses and/or
co-defendants;

              9.      All evidence known, or which may become known, to the prosecuting
attorney which is favorable to the Defendant or exculpatory, and/or evidence which may impact
on punishment if Defendant is convicted;

                10.    Copies of all police reports prepared for this case, including all offense
reports, narrative reports and supplementary reports;

                 11.     The names, addresses and phone numbers of all confidential informants
that were relied upon by the State to obtain a search warrant, arrest warrant and/or relied upon by
the State in its investigation of this case;

               12.     If subsequent to the compliance with this Demand for Discovery (prior to
or during trial), the prosecuting attorney discovers additional matters which would have been
subject to discovery or inspection under this Demand, the Defendant hereby demands that the
prosecuting attorney immediately notify Defendant’s Counsel of the existence of the additional
matter and make said immediately available for discovery or inspection.

                                             Respectfully submitted,

                                             JAMES T. AMBROSE, LLC


                                             S/James T. Ambrose
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                                             Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the above was served upon Segev
Phillips, Esq., at this office at the United States Attorney’s Office via Electronic Notification by
the Clerk of Courts on this day of filing.


                                              S/James T. Ambrose
                                              JAMES T. AMBROSE




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